Filed 12/04/19                                                  Case 19-24586                                                                     Doc 17
                                                  United States Bankruptcy Court
                                                 Eastern District of California
    In re:                                                                                                     Case No. 19-24586-C
    Maria Elizabeth Vindiola                                                                                   Chapter 7
             Debtor
                                                     CERTIFICATE OF NOTICE
    District/off: 0972-2                  User: admin                        Page 1 of 1                          Date Rcvd: Dec 02, 2019
                                          Form ID: L51                       Total Noticed: 1

    Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
    Dec 04, 2019.
    tr             +Irma Edmonds,   PO Box 3608,    Pinedale, CA 93650-3608

    Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
    NONE.                                                                                       TOTAL: 0

                 ***** BYPASSED RECIPIENTS *****
    NONE.                                                                                                               TOTAL: 0

    Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
    USPS regulations require that automation-compatible mail display the correct ZIP.

    Transmission times for electronic delivery are Eastern Time zone.


    I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
    shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
    Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
    Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
    by the bankruptcy rules and the Judiciary’s privacy policies.
    Date: Dec 04, 2019                                             Signature: /s/Joseph Speetjens

    _

                                          CM/ECF NOTICE OF ELECTRONIC FILING

    The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
    system on December 2, 2019 at the address(es) listed below:
    NONE.                                                                                       TOTAL: 0
Filed 12/04/19                                                         Case 19-24586                                                      Doc 17

        FORM L51 Final Decree (v.9.14)                                                                                 19−24586 − C − 7

                      UNITED STATES BANKRUPTCY COURT
                           Eastern District of California
                                 Robert T Matsui United States Courthouse
                                         501 I Street, Suite 3−200
                                          Sacramento, CA 95814

                                                  (916) 930−4400
                                               www.caeb.uscourts.gov
                                               M−F 9:00 AM − 4:00 PM



                                                                   FINAL DECREE


        Case Number:             19−24586 − C − 7
        Debtor Name(s), Social Security Number(s), and Address(es):


           Maria Elizabeth Vindiola
            xxx−xx−1420

           1452 W. Elm St
           Stockton, CA 95203

        OTHER NAMES USED WITHIN 8 YEARS BEFORE FILING THE PETITION:
          Maria E. Vindiola
          Elizabeth Vindiola




        Trustee:                         Irma Edmonds
                                         PO Box 3608
                                         Pinedale, CA 93650

        Telephone Number:                (559) 221−2233



        Office of the United States Trustee:
               For cases in the Sacramento Division and Modesto Division: 501 I Street, Room 7−500, Sacramento, CA 95814
               For cases in the Fresno Division: 2500 Tulare Street, Suite 1401, Fresno, CA 93721



            It appearing to the court that the Trustee in the above−entitled case has completed administration of this estate,
           IT IS ORDERED that the estate is hereby closed, that the trustee is hereby discharged, and that the trustee's bond is
           hereby released from further liability, except any liability which may have accrued during the time such bond was in
           effect for the estate of this case.


        Dated:                                                             For the Court,
        12/2/19                                                            Wayne Blackwelder , Clerk
